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                              UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

      UMG RECORDINGS, INC., et al.,

                     Plaintiffs,

             v.
                                                         Case No. 8:19-cv-710-MSS-TGW
      BRIGHT HOUSE NETWORKS, LLC,

                     Defendant.

     PLAINTIFFS’ MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                       PRODUCTION OF DOCUMENTS

            Seventeen months into this case, defendant Bright House Networks, LLC (“BHN”)

     has produced a grand total of ten documents (four of which are public rather than internal

     documents). BHN has refused outright to provide documents going to the core of Plaintiffs’

     claims and BHN’s defenses. It also has provided virtually no substantive interrogatory

     responses. It is clear BHN will not provide discovery in earnest absent court order. Plaintiffs

     therefore seek an order compelling BHN to:

            1.      Provide full responses to Plaintiffs’ Interrogatory Nos. 13 and 14, stating how

     many copyright infringement notices it received from 2012 to 2016, and what actions it took

     in response to them;

            2.      Produce documents concerning its practices for responding to copyright

     infringement notices, responsive to Plaintiffs’ Requests for Production 41 and 71;

            3.      Produce financial documents relevant to Plaintiffs’ request for statutory

     damages, responsive to Plaintiffs’ Requests for Production 49, 59, 60, and 65; and

            4.      Produce all such documents and information within 20 days.
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                                            BACKGROUND
            Plaintiffs are record companies and music publishers that produce, manufacture,

     distribute, sell, and license commercial sound recordings and musical compositions. Dkt. 94

     ¶ 1. Through enormous investments of money, time, and creative effort, Plaintiffs—and the

     recording artists and songwriters they represent—have developed and marketed some of the

     world’s most famous and popular music. Id. Collectively, Plaintiffs own or control the

     copyrights to millions of musical compositions and sound recordings, which is one of their

     primary sources of income. Id. ¶ 12.

            Between March 2013 and May 2016 (the “Claim Period”), thousands of subscribers

     to BHN, an internet service provider, illegally distributed Plaintiffs’ music through peer-to-

     peer file-sharing programs like BitTorrent. Id. ¶ 2. Pursuant to the Digital Millennium

     Copyright Act (“DMCA”), Plaintiffs sent BHN over one hundred thousand notices

     identifying specific, repeat infringements on BHN’s network by specific BHN subscribers.

     Id.

            BHN’s terms of service expressly prohibit users from engaging in copyright

     infringement and reserve to BHN the right to terminate users’ accounts for participating in

     online piracy. Id. ¶ 86. Notwithstanding this policy, BHN turned a blind eye to the rampant

     infringement occurring over its network so it could continue to reap millions of dollars in

     profits from infringing subscribers. Plaintiffs’ claim for contributory copyright infringement

     arises from BHN’s business decision to continue providing its internet services to known,

     repeat infringers of Plaintiffs’ works on its network.




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            In its Answer filed on July 22, 2020, BHN asserted as an affirmative defense that the

     DMCA’s “safe harbor” provisions shield it from liability. Dkt. 151 at 44-45. To be eligible

     for that affirmative defense, BHN must demonstrate that it “adopted and reasonably

     implemented” a repeat-infringer policy that resulted in the termination of repeat infringers—

     any of them, not just those in Plaintiffs’ notices—under appropriate circumstances. 17

     U.S.C. § 512(i)(1)(A) (emphasis added).

            Plaintiffs served the requests at issue in this Motion on February 7, 2020. Sahni Decl.

     Exs. A-B. They cover BHN’s knowledge of its subscribers’ infringing conduct, its practices

     for responding to infringement on its network, the willfulness of BHN’s refusals to terminate

     known repeat infringers on its network, and whether BHN reasonably implemented a policy

     that “terminat[ed] in appropriate circumstances [] subscribers…who are repeat infringers.”

     17 U.S.C. § 512(i)(1)(A). BHN responded overwhelmingly with either a boilerplate refusal

     to produce the requested documents and information, or by limiting production to documents

     in a manner that would keep BHN from having to produce virtually anything. Sahni Decl.

     Exs. E-F, C-D.

            Plaintiffs first raised these deficiencies with BHN on March 19 (Interrogatories) and

     March 25 (Requests for Production). Sahni Decl. Exs. E-F. BHN refused to respond to

     Plaintiffs’ March 25 letter regarding the RFPs at issue here for months, notwithstanding more

     than half a dozen written and oral requests from Plaintiffs for BHN’s positions in writing.

     See id. Exs. G; H at 3; I at 1, 2, 5. When BHN finally did respond, it became clear that BHN

     would not provide core discovery absent a court order. See Sahni Decl. Exs. J-K.




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                                         LEGAL STANDARD
            Plaintiffs are entitled to discovery “regarding any nonprivileged matter that is

     relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R.

     Civ. P. 26(b)(1). In response to a motion to compel disclosure pursuant to Fed. R. Civ. P.

     37(a), “[t]he party resisting production of information bears the burden of establishing lack of

     relevancy or undue burden in supplying the requested information.” Gober v. City of

     Leesburg, 197 F.R.D. 519, 521 (M.D. Fla. 2000). Any objection based on the request being

     overly broad or unduly burdensome cannot be boilerplate, but instead must provide a “full,

     fair explanation” of the objection “particular to the facts of the case.” M.D. Fl. Discovery

     Handbook § III.A.6 (rev. June 5, 2015).

                                             ARGUMENT
     I.     BHN should be ordered to state how many infringement notices it received from
            2012 to 2016 and what actions it took in response to them.

            Through its safe-harbor defense, BHN asserts that it has “adopted and reasonably

     implemented, and informs [its] subscribers and account holders of … a policy that provides

     for the termination in appropriate circumstances of subscribers and account holders of [its]

     network who are repeat infringers.” 17 U.S.C. § 512(i)(1)(A) (emphasis added).

            Interrogatories 13 and 14 together seek the most basic information necessary to test

     BHN’s assertion that it “reasonably implemented” a repeat-infringer termination policy: the

     total number of infringement notices BHN received each month during the Discovery Period




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     of March 2012 through May 2016 (No. 13); and the number of actions, by type of action, that

     it took in response to those notices (No. 14).1

     Interrogatory No. 13: State the number of Infringement Notices you received each month
     from January 1, 2010 through May 17, 2016 and identify the person(s) most knowledgeable
     about such notices since January 1, 2010.2
     RESPONSE: Bright House objects that this request is overbroad, unduly burdensome, and
     seeks information that is outside the scope of permissible discovery because it is not relevant
     to any party’s claim or defense, because it seeks information about works and parties not at
     issue in this case and for a time period well outside of Plaintiffs’ claims period in this case.
     Bright House further objects to this request because it is unduly burdensome and unnecessarily
     duplicates other discovery requests that Plaintiffs have propounded. Bright House further
     objects to this request to the extent it seeks information that is not reasonably accessible
     because of undue burden or cost, and Bright House reserves the right to shift the cost of
     accessing such information to Plaintiffs. Bright House reserves its right to respond to this
     interrogatory pursuant to Fed. R. Civ. P. 33(d).
     SUPPLEMENTAL RESPONSE: Subject to and without waiving its objections, pursuant to
     Fed. R. Civ. P. 33(d), Bright House directs Plaintiffs to the document Bates numbered
     BHN_00000814, which provides data regarding the notices Bright House received from
     Plaintiffs and third parties directed at subscribers who received Plaintiffs’ notices during the
     Discovery Period. The person most knowledgeable is Timothy Frendberg, who was the Senior
     Director of Network Security Operations from 2008 to May 2017 at Bright House.

              Rather than providing the data called for by this Interrogatory, BHN directs Plaintiffs

     to its production of a “ticket data log” in response to RFP 2, which the Court ordered in

     January, well before BHN asserted its safe-harbor defense. Dkt. 91 at 2. This log provides

     certain data regarding BHN’s receipt of notices concerning the subscribers identified in

     Plaintiffs’ notices (“RIAA-Accused Subscribers”). (RFP 2 was limited to notices regarding

     RIAA-Accused Subscribers, rather than notices regarding any subscriber, because BHN had


     1
       Pursuant to Local Rule 3.04, Plaintiffs quote in full all discovery requests and responses at
     issue in this Motion. All discovery requests and objections quoted herein are contained in
     Plaintiffs’ discovery requests and BHN’s objections and responses thereto. See Sahni Decl.
     Exs. A-D.
     2
         This request is limited to the Discovery Period (March 2012 through May 2016).



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     not at the time asserted the safe harbor defense, which puts at issue whether BHN reasonably

     implemented a repeat infringer policy as to its subscribers generally. Jan. 8, 2020 Hrg. Tr.

     (Ex. N to Sahni Decl.) at 58:7-19, 140:22-141:11.)

             BHN’s citation to its ticket-data log is a deficient response for two reasons. First,

     BHN’s asserted safe harbor defense puts squarely at issue its treatment of and

     communication with all repeat infringers—not just the RIAA-Accused Subscribers. That is

     because “Section 512(i)(1)(A) requires an assessment of the service provider’s ‘policy,’ not

     how the service provider treated a particular copyright holder.” Perfect 10, Inc. v. CCBill

     LLC, 488 F.3d 1102, 1113 (9th Cir. 2007). Thus, BHN’s “response to adequate non-party

     notifications [i.e., notifications on behalf of rights-holders other than Plaintiffs] is relevant in

     determining whether [it] reasonably implemented [its] policy against repeat infringers.” Id.

             Plaintiffs are therefore entitled to know how many total notices BHN received—and

     how many actions BHN took in response (see Interrogatory No. 14, below)—in order to

     illustrate just how many notices BHN ignored, and thereby test BHN’s assertion that it

     reasonably implemented a policy to terminate repeat infringers. Indeed, comparing the

     number of customer-facing actions taken to the total number of notices received can be

     dispositive of BHN’s affirmative defense. In UMG Recordings, Inc. v. Grande Commc’ns

     Networks, for example, the court found the ISP ineligible for the DMCA safe harbor as a

     matter of law, because “the evidence is undisputed that it failed to terminate any customers

     from 2010 through 2016, despite receiving over a million infringement notices”—a number

     which included all notices received, not just those from the plaintiffs. 384 F. Supp. 3d 743,

     754-58 (W.D. Tex. 2019). By refusing this discovery, BHN seeks to deprive Plaintiffs of




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     core evidence that bears directly on the validity of BHN’s affirmative defense. This

     discovery will also show BHN’s knowledge of specific infringements and infringers.

            Second, the ticket-data document that BHN produced does not even provide a

     complete picture of the actions BHN took with respect to Plaintiffs’ notices. The document

     contains only 200 entries for notices sent by Plaintiffs, even though Plaintiffs sent BHN over

     109,000 notices. Sahni Decl. ¶ 22. It therefore discloses next to nothing about how BHN

     treated repeat infringers who received Plaintiffs’ notices, let alone how BHN treated other

     infringers.

     Interrogatory No. 14: State the number of Customer Facing Actions, by Customer Facing
     Action, you took each month from January 1, 2010 through May 17, 2016 in response to the
     Infringement Notices identified in response to Interrogatory No. 13 and identify the person(s)
     most knowledgeable about such Customer Facing Actions.3
     Plaintiffs’ Definition of Customer Facing Action: The term “Customer Facing Action”
     shall mean any action that you directed to a Subscriber as a result of having received an
     Infringement Notice, including: forwarding a copy of the Infringement Notice to the
     Subscriber; sending the Subscriber a warning in response to receiving an Infringement
     Notice; suspending, slowing (i.e., “throttling”) or otherwise adversely affecting the
     Subscriber’s internet access; or disconnecting or terminating the Subscriber’s internet
     service.
     RESPONSE: Bright House objects that this request is overbroad, unduly burdensome, and
     seeks information that is outside the scope of permissible discovery because it is not relevant
     to any party’s claim or defense, because it seeks information about works and parties not at
     issue in this case and for a time period well outside of Plaintiffs’ claims period in this case.
     Bright House further objects to this request as vague, ambiguous, and overbroad because of
     Plaintiffs’ use of the term “Customer Facing Action,” which, with the present definition,
     requires speculation. Bright House further objects to this request to the extent it seeks
     information that is not reasonably accessible because of undue burden or cost, and Bright
     House reserves the right to shift the cost of accessing such information to Plaintiffs. Bright
     House reserves its right to respond to this interrogatory pursuant to Fed. R. Civ. P. 33(d).
     SUPPLEMENTAL RESPONSE: Subject to and without waiving its objections, pursuant to
     Fed. R. Civ. P. 33(d), Bright House directs Plaintiffs to the document Bates numbered

     3
       As with Interrogatory No. 13, this request is limited to the Discovery Period of March 2012
     through May 2016.



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     BHN_00000814, which details the customer facing actions Bright House took in response to
     notices it received from Plaintiffs and third parties directed at subscribers who received
     Plaintiffs’ notices during the Discovery Period. The person most knowledgeable is Timothy
     Frendberg, who was the Senior Director of Network Security Operations from 2008 to May
     2017 at Bright House.

            In response to Interrogatory 14, BHN again pointed to the same very limited ticket-

     data that it cited in response to Interrogatory 13. That is a deficient response for the same

     reasons described above. First, BHN put its treatment of all repeat infringers at issue when it

     claimed a safe harbor from liability in this case by virtue of having “implemented…a policy

     that provides for the termination in appropriate circumstances of subscribers…who are repeat

     infringers.” 17 U.S.C. § 512(i)(1)(A). To test that assertion, Plaintiffs need to know if BHN

     implemented its purported termination policies for all repeat infringers. Again, the total

     number of Customer Facing Actions compared with the total number of notices was

     dispositive on summary judgment of the safe-harbor defense in Grande. 384 F. Supp. 3d at

     754-58.

            Other courts have likewise found that this ratio of “actions taken with respect to total

     notices” can give rise to an inference that the ISP did not reasonably implement a repeat-

     infringer policy. See Disney Enterprises, Inc. v. Hotfile Corp., 2013 WL 6336286, at *22-24

     (S.D. Fla. Sept. 20, 2013) (discussing the number of terminations and the total number of

     notices received from all rights-holders—not just the plaintiffs—and concluding that the

     “[d]ocuments and statistics indicate that there was never any realistic threat of termination to

     Hotfile’s users…[t]his renders Hotfile’s policy legally insufficient under Section 512(i)”);

     BMG, 149 F. Supp. 3d at 659 (“[A]n inference that Cox was not reasonably implementing its




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     [repeat-infringer] policy may be drawn from the numbers” showing the “customer facing

     actions” Cox took, per month, “in response to alleged infringements.”).

            And the plaintiffs in Sony Music Entm’t v. Cox Commc’ns, Inc., No. 1:18-CV-950-

     LO-JFA, (E.D. Va.), who won a jury verdict on their claim of contributory copyright

     infringement, presented compelling evidence of the defendant’s record in addressing

     copyright violations using the precise type of information Plaintiffs seek here. See Sahni

     Decl. Ex. O. Plaintiffs are entitled to that same discovery; BHN’s refusal to provide it is

     calculated to prevent precisely this same sort of undeniably compelling evidence from being

     shown to the jury here.

            Second, BHN’s ticket data document is an especially deficient response for actions

     BHN purportedly took in response to notices, because it fails to disclose whether BHN

     terminated, suspended, or even “throttled” the service of any repeat infringers. Most

     fundamentally, the ticket data shows no “actions” taken at all. The document shows only the

     status of each ticket—whether it was open, resolved, or ignored. Sahni Decl. ¶ 22. But BHN

     can—and must—disclose what actions it actually took. For example, BHN has claimed—

     without documentary support or pointing to specific examples—that it suspended and

     terminated subscribers in response to infringement notices during the Claim Period, including

     in response to infringement notices sent by Plaintiffs. Sahni Decl. Ex. P; Ex. Q at Responses

     to RFAs 7-8. BHN will presumably rely on similar statements to support its assertion of a

     safe harbor. See Ex. P. The ticket data cited by BHN, however, shows no such thing.4


     4
       And, again, it’s an extremely limited universe: there are data for only 200 of Plaintiffs’
     109,458 notices, and for only approximately 3,200 notices sent by other rights-holders over
     the entire Claim Period. Sahni Decl. ¶ 22.



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     BHN’s invocation of the safe harbor defense entitles Plaintiffs to discovery concerning

     BHN’s termination or suspension of subscribers in response to infringement notices, and in

     the context of how many overall notices. Indeed, in Warner Records Inc. v. Charter

     Commc’ns, Inc., a pending similar litigation between Plaintiffs and another ISP represented

     by the same counsel as BHN (“Charter Case”), the Defendant ISP was ordered to produce

     this information in response to identical interrogatories. Sahni Decl. Ex. M at 26-27

     (“Charter’s invocation of the DMCA Safe Harbor puts at issue its overall policies and

     procedures for addressing infringement. Information relating to the total number of notices

     received and Charter’s reaction to those notices is therefore relevant. Plaintiffs are entitled to

     probe how Charter’s infringement policies were actually implemented.”).

     II.    BHN should be ordered to produce documents concerning its practices for
            responding to copyright infringement.

            Again, to qualify for its safe-harbor defense, BHN must show not only that it adopted

     a policy that would terminate repeat infringers in appropriate circumstances, but also that it

     reasonably implemented such a policy. That an ISP failed to reasonably implement a policy

     may be shown not only by raw data (see Section I, supra), but also by contemporaneous

     documents reflecting the ISP’s actual practices for responding to copyright infringement and

     what the ISP said when it took—or refused to take—actions in response to repeat

     infringement. See, e.g., BMG, 149 F. Supp. 3d at 655-662 (finding that the “record

     conclusively establishes that…Cox publicly purported to comply with its policy, while

     privately disparaging and intentionally circumventing the DMCA’s requirements,” and

     including pages of discussion of contemporaneous documents and internal emails reflecting

     Cox’s practices); Grande, 384 F. Supp. 3d at 754-58 (finding ISP ineligible for safe harbor




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     and citing internal emails reflecting practice that diverted from public policy of terminating

     repeat infringers); Hotfile, 2013 WL 6336286, at *9-10, 21, 24 (finding service provider

     ineligible for safe harbor and citing documents in record demonstrating service provider’s

     practice of ignoring notices, notwithstanding public-facing two-strike termination policy).

            As with the raw data it refuses to provide in response to Interrogatories 13 and 14,

     BHN has also stonewalled discovery of documents reflecting its actual practices for

     responding to copyright infringement, i.e., the very types of documents that have been

     powerful evidence in other similar cases.

            A.      Plaintiffs’ RFP No. 41

     RFP 41: Documents sufficient to show all policies, practices, or capabilities that you
     considered, formulated, rejected, or adopted for taking adverse action (including suspending
     or terminating internet service) against Subscribers or Users for alleged copyright
     infringement.
     ANSWER: Bright House objects to this request as over-broad and unduly burdensome,
     and as seeking information that is outside the scope of permissible discovery because it is not
     relevant to any party’s claim or defense and demands all documents concerning general
     subjects such that the request fails to describe with reasonable particularity the items or
     categories of items to be produced for inspection. Bright House objects to this request as
     duplicative of other discovery requests that Plaintiffs have propounded. Bright House further
     objects to this request to the extent it improperly seeks information protected from disclosure
     by the attorney-client privilege, work product doctrine, common interest privilege, or other
     applicable privilege or doctrine. Bright House also objects to this request as duplicative of
     other discovery requests that Plaintiffs have propounded.
     Subject to and without waiving the foregoing objections, Bright House will produce
     responsive, non-privileged documents constituting the copyright policies, repeat infringer
     policies and acceptable use policies for the Discovery Period, to the extent they exist and are
     within its possession, custody, or control after undertaking a reasonable and diligent search
     and to the extent not already produced in response to other requests.

            This request seeks documents sufficient to show all policies, practices, or capabilities

     that BHN considered, formulated, rejected, or adopted for taking adverse actions against

     users for alleged copyright infringement. BHN agreed to produce only the final copyright




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     policies it already produced. This is directly at odds with the cases finding ISPs ineligible for

     the safe harbor because their internal documents showed they did not in practice implement,

     as required, their copyright, repeat infringer, and acceptable use policies. See, e.g., BMG,

     149 F. Supp. 3d at 659 (“Despite having a repeat-infringer policy on the books, Cox’s

     implementation rendered the policy an ‘absolute mirage.’”); Grande, 384 F. Supp. 3d at 754

     (“Grande argues that it has adopted an appropriate policy because since 2012 it has had a

     public-facing policy providing for the termination of infringing subscribers. The evidence in

     the record indicates the opposite.”).

            BHN has produced only 10 documents thus far in this case, but they already show

     that its practices diverged from its policies. BHN’s public-facing documents state, for

     example, that “[i]t is our policy to terminate the access of repeat infringers.”5 Sahni Decl.

     Ex. R. But BHN has not produced a single document in this case demonstrating the

     termination of any subscriber for copyright infringement.6 And BHN’s refusal to produce

     documents reflecting its actual practices would shield from production even, for example, an

     internal email stating: “Ignore the written policy, infringing subscribers are too lucrative for

     us to terminate.” In the Charter Case, the Defendant ISP was ordered to produce documents



     5
       BHN failed to produce this policy—or any other policies containing this language—even
     though the Court ordered it in January to “produce copies of final DMCA, repeat infringer,
     and/or acceptable use policies for the period March 1, 2012, to May 31, 2016,” and to do so
     in 60 days. Dkt. 91 at 2. The policy is unquestionably “final”—Plaintiffs found it on internet
     archives of BHN’s website—and was last revised on March 16, 2012.
     6
      BHN denied a Request for Admission asking it to admit that it had no documents created
     during the Claim Period demonstrating that it terminated an infringing subscriber’s access to
     BHN’s internet services in response to an infringement notice. Sahni Decl. Ex. Q at
     Response to RFA 2. Despite serving requests that called for such documents over a year ago,
     Plaintiffs have received none.



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     responsive to a nearly identical request. Sahni Decl. Ex. M at 27-28.

               B.     Plaintiffs’ RFP No. 71

     RFP 71: Communications distinguishing, differentiating, or otherwise comparing BHN’s
     responses to violations of its Acceptable Use Policies for reasons other than copyright
     infringement (including for hacking or spamming) to its responses to violations of those
     policies on the basis of copyright infringement.

     ANSWER: Bright House objects that this request is overbroad, unduly burdensome, and
     seeks information that is outside the scope of permissible discovery because it is not relevant
     to any party’s claim or defense, including because it demands all documents concerning
     general subjects such that the request fails to describe with reasonable particularity the items
     or categories of items to be produced for inspection.

               This request seeks documents distinguishing BHN’s treatment of copyright

     infringement from its treatment of other violations of its Acceptable Use Policy (“AUP”).

     Responsive documents would show, for example, that BHN enforced its policy against

     spammers strictly and as written, but decided not to enforce its copyright infringement policy

     as written. Courts have found such documents directly relevant to whether an ISP reasonably

     implemented its repeat-infringer policy. E.g., BMG, 149 F. Supp. 3d at 656-57 (denying safe

     harbor defense, citing four Cox emails explaining that practice of “reactivating” copyright

     infringers “only pertains to DMCA violations. It does not pertain to spammers, hackers,

     etc.”).

               Because these documents would illustrate that BHN could do something about its

     subscribers’ infringing conduct but chose not to, they are also relevant to show BHN’s

     material contribution to its subscribers’ infringing conduct and its willfulness in failing to

     stop it. In the Charter Case, the Defendant ISP was ordered to produce documents

     responsive to a nearly identical request. Sahni Decl. Ex. M at 30-31.




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     III.       BHN should be ordered to produce documents relevant to Plaintiffs’ request for
                statutory damages.

                Plaintiffs have elected to seek statutory damages in this case, pursuant to Section

     504(c) of the DMCA. Under Section 504(c), if the court or jury finds BHN’s conduct to be

     willful, then plaintiffs could potentially be entitled to damages ranging from $750 to

     $150,000 per work. 17 U.S.C. § 504(c)(2). “In determining the amount of statutory

     damages, a court considers ‘(1) the expenses saved and profits reaped by [the d]efendants in

     connection with the infringements; (2) the revenues lost by [the p]laintiffs as a result of [the

     d]efendants’ conduct; and (3) the infringers’ state of mind—whether willful, knowing, or

     merely innocent.’” Universal Music Corp v. Latitude 360 Nevada, Inc., 2016 WL 3200087,

     at *4 (M.D. Fla. May 4, 2016) (citing Nick-O-Val Music Co. v. P.O.S. Radio, Inc., 656 F.

     Supp. 826, 829 (M.D. Fla. 1987)). BHN has refused to provide documents relevant to these

     factors.

                A.     Plaintiffs’ RFP No. 49

     RFP 49: Documents discussing the impact of Subscribers’ use of BitTorrent and/or peer-to-
     peer networks on your current or future profits.
     ANSWER: Bright House objects that this request is overbroad, unduly burdensome, and
     seeks information that is outside the scope of permissible discovery because it is not relevant
     to any party’s claim or defense, including its demand for all documents concerning general
     subjects such that the request fails to describe with reasonable particularity the items or
     categories of items to be produced for inspection. Bright House further objects to this request
     to the extent that it is duplicative of other discovery requests that Plaintiffs have propounded.
     Subject to and without waiving the foregoing objections Bright House will produce
     responsive, documents concerning the use of BitTorrent to infringe copyrights, to the extent
     Bright House finds such documents within its possession, custody, or control after
     undertaking a reasonable and diligent search and to the extent not already produced in
     response to other requests.




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            This case concerns BHN’s liability for its subscribers’ use of peer-to-peer networks

     like BitTorrent to engage in mass infringement of Plaintiffs’ copyrighted works. As the court

     observed in Sony v. Cox, based on an extensive trial record, over 99% of BitTorrent use is for

     copyright infringement. Sony Music Entm't v. Cox Commc’ns, Inc., 2020 WL 3121306, at *7

     (E.D. Va. June 2, 2020). Given that BitTorrent is used almost exclusively for piracy, the

     Sony jury was entitled to presume that files on BitTorrent were unlawfully reproduced and

     distributed. Id.

            Request 49, in turn, seeks documents discussing the impact of BHN’s subscribers’

     BitTorrent use on BHN’s current or future profits. Such documents could hardly be more

     relevant to the “profits reaped by [the d]efendants in connection with the infringements”—a

     factor the jury may consider in determining the appropriate statutory damages amount.

     Latitude 360 Nevada, Inc., 2016 WL 3200087, at *4. BHN’s agreement to produce only

     “documents concerning the use of BitTorrent to infringe copyrights” does not cover what this

     request seeks, which is the impact of BitTorrent use on BHN’s bottom line.

            B.      Plaintiffs’ RFP No. 59

     RFP 59: Documents sufficient to show the average revenue and profit that you have
     received per Subscriber, for the life of the account, from January 1, 2012 to present.
     ANSWER: Bright House objects that this request is outside the claim period. Bright
     House objects that this request is overbroad, unduly burdensome, and seeks information that
     is outside the scope of permissible discovery because it is not relevant to any party’s claim or
     defense, including because it demands all documents concerning general subjects such that
     the request fails to describe with reasonable particularity the items or categories of items to
     be produced for inspection and with respect to the overbroad requested time period. Bright
     House objects to this request as vague and ambiguous, in particular as to Plaintiffs’ use of the
     phrase “sufficient to show” which requires speculation. Moreover, Bright House has already
     agreed to produce billing records for those Subscribers that were identified in the
     Infringement Notices sent by Plaintiffs’ or on Plaintiffs’ behalf.




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            This tailored request asks for documents sufficient to show BHN’s average revenue

     or profit per subscriber. These averages speak directly to the “profits” BHN “reaped” from

     failing to take appropriate action against infringing subscribers.

            To calculate those profits, Plaintiffs initially asked BHN to produce documents

     sufficient to show the revenues it collected from the subscribers identified in Plaintiffs’

     notices, and the Court ordered BHN to produce that information in January. Dkt. 91 at RFP

     19. But BHN produced revenue data for only 137 accounts, although Plaintiffs sent BHN

     over a hundred thousand infringement notices specifying infringements committed at over

     20,000 different IP addresses. See Sahni Decl. ¶ 21. In other words, BHN could not provide

     the ordered information for the vast majority of subscribers at issue. RFP 59 is necessary

     given BHN’s inability to produce the individual-subscriber revenue data that the Court

     already ordered. In the Charter Case, the Defendant ISP was ordered to produce documents

     responsive to an identical request. Sahni Decl. Ex. M at 37-38.

            C.       Plaintiffs’ RFP No. 60

     RFP 60: Documents sufficient to show the average and/or estimated total length of time
     that you retain Subscribers, from inception to termination of the subscription for any reason.
     ANSWER: Bright House objects that this request is outside the claim period. Bright
     House objects that this request is overbroad, unduly burdensome, and seeks information that
     is outside the scope of permissible discovery because it is not relevant to any party’s claim or
     defense, including because it demands all documents concerning general subjects such that
     the request fails to describe with reasonable particularity the items or categories of items to
     be produced for inspection.

            Like RFP 59, RFP 60 is a partial, but necessary, substitute for BHN’s inability to

     produce the individual-subscriber revenue data that the Court already ordered. Plaintiffs will

     use RFP 60 to create their own model of the average profits BHN received from infringing

     subscribers. Specifically, Plaintiffs experts may use the average length of time that BHN



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     retained each subscriber, together with historical pricing information, to calculate a model for

     the average profits BHN reaped from failing to take appropriate action against any given

     infringing subscriber.

            D.      Plaintiffs’ RFP 65

      RFP 65: Documents sufficient to show the extent to which compensation (including bonus
     structure(s)) for your employees, customer service representatives, or members of your
     internet security or customer safety team was tied to retention of Subscribers.
     ANSWER: Bright House objects that this request is vague and ambiguous, overbroad,
     unduly burdensome, and seeks information that is outside the scope of permissible discovery
     because it is not relevant to any party’s claim or defense.

            This narrow request seeks documents relevant to BHN’s motivation or intent to not

     terminate subscribers who used BHN’s network for copyright infringement. Under Section

     504(c) of the DMCA, if Plaintiffs prove that BHN’s material contribution to its subscribers’

     infringing conduct was willful, they are entitled to a higher damages ceiling—up to $150,000

     per work. 17 U.S.C. § 504(c). It may be that BHN’s willfulness would be manifested in a

     document expressly saying BHN intended to ignore infringement notices in order to increase

     profits. But Plaintiffs are entitled to make this case in other ways as well, including by

     showing that BHN incentivized its employees to not terminate subscribers by tying their

     compensation to retention of subscribers’ accounts. For instance, if BHN made it

     economically unattractive for its employees to actually enforce its acceptable use policies and

     terminate repeat infringers—e.g., by depriving them of bonuses for subscriber retention—

     that would demonstrate its willfulness in not terminating subscribers who engaged in known,

     rampant copyright infringement. In the Charter Case, the Defendant ISP was ordered to

     produce documents responsive to a nearly identical request. Sahni Decl. Ex. M at 39-40.




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     IV.    BHN should be ordered to produce documents sought in this Motion, and
            documents it agreed to produce long ago, within 20 days.

            As of the filing of this Motion, BHN has produced a total of 10 documents in this

     case. While the parties are negotiating search terms to collect documents responsive to a

     number of RFPs, Plaintiffs have asked BHN over and over again to begin making rolling

     productions of documents responsive to RFPs that are not the subject of any dispute and

     collection of which does not turn on application of any electronic search terms (“Agreed-

     Upon RFPs”). Sahni Decl. Ex. L. But BHN has not made a production in 2020 unless it was

     Court-ordered. In addition, despite the Court ordering BHN in May to respond to certain

     interrogatories, BHN still has not done so. See Dkt. 134 at 2. Nor has BHN produced the

     final copyright policies—a narrow set of documents—that the Court ordered produced within

     60 days in January. See supra at 12-13 n.6, Dkt. 91 at 2. It has become clear that BHN will

     not produce documents or answer interrogatories without a court-ordered deadline. This is

     not a proper way to conduct discovery, especially in a complex, Track Three case like this.

     See S. Gardens Citrus Processing Corp. v. Barnes Richardson et. al, 2012 WL 12905615, at

     *2 (M.D. Fla. Mar. 6, 2012) (“failure to produce documents that are clearly responsive to the

     discovery requests causing unnecessary delay and further motions[] will be frowned upon by

     the Court.”). Plaintiffs therefore request that the Court:

            (1) order BHN to produce the documents and answer the interrogatories described in
            Sections I-IV above within 20 days of any order on this Motion;7

            (2) order BHN to produce documents responsive to the Agreed-Upon RFPs, some of
            which BHN agreed in 2019 to produce—which include licenses, specific documents


     7
      This would not apply to documents that require search terms to collect; the parties have
     agreed to negotiate those search terms in advance.



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            referenced in the 10 documents BHN has produced, sworn statements, press releases
            or public statements, and the like—within 20 days of any order on this Motion; and

            (3) hold a hearing on this Motion so that the Court can provide firm guidance
            regarding the appropriate conduct of discovery, and to avoid Plaintiffs needing to
            bring serial motions to compel BHN’s compliance with the most basic discovery
            obligations.8

                                             CONCLUSION
            For the foregoing reasons, Plaintiffs request that the Court issue an order compelling

     BHN to produce the categories of information and documents discussed herein.

                              LOCAL RULE 3.01(G) CERTIFICATION
            Plaintiffs’ counsel conferred with BHN’s counsel on multiple occasions prior to the

     bringing of this motion, including extensive correspondence over the course of over four

     months and several teleconferences. The parties have not been able to resolve the issues in

     this Motion. E.g., Sahni Decl. ¶¶ 6-12.

     Dated: August 14, 2020                                 Respectfully submitted,

                                                             /s/ Jonathan M. Sperling
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     8
       Plaintiffs are still conferring with BHN over document requests related to BHN’s actual
     practices for responding to copyright infringement, for which BHN responded by agreeing to
     produce documents only if they concerned the Plaintiffs or the works in suit. These
     restrictions are improper; the requests seek documents relevant to Plaintiffs’ claims that, by
     their nature, are not likely to mention Plaintiffs or their works. Further, BHN’s limitation to
     Plaintiffs or Plaintiffs’ works in suit ignores that the safe harbor defense looks at an ISP’s
     actions generally, not just those related to Plaintiffs. While Plaintiffs are still conferring with
     BHN over some of these RFPs, they anticipate they will need to move to compel BHN to lift
     this improper restriction in due course.



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                                   CERTIFICATE OF SERVICE

            I hereby certify that on August 14, 2020, I caused the foregoing document and all

     accompanying materials to be filed electronically with the Clerk of the Court using the

     CM/ECF system, which will send a notice of electronic filing to all counsel of record

     registered with CM/ECF.

     Dated: August 14, 2020,

                                                          /s/ J. Hardy Ehlers
                                                         J. Hardy Ehlers

                                                         Attorney for Plaintiffs




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